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1                                   UNITED STATES DISTRICT COURT

2                                         DISTRICT OF NEVADA

3                                                    ***
      NEVADA TITLE COMPANY,
4
                          Plaintiff(s),
5                                                       2:18-cv-01823-GMN-VCF
      v.                                                ORDER
6     ACE AMERICAN INSURANCE COMPANY,
7                         Defendant(s).
8           Before me is Plaintiff Nevada Title Company’s Motion for Leave to File First Amended Complaint
9    (ECF No. 96).
10          Ace American Insurance Company filed a notice of non-opposition to the instant motion. (ECF
11   No. 97).
12          Accordingly, and good cause appearing,
13          I ORDER that Plaintiff Nevada Title Company’s Motion for Leave to File First Amended
14   Complaint (ECF No. 96) is GRANTED.
15          Plaintiff must file the First Amended Complaint on or before November 15, 2021.
16          DATED this 8th day of November, 2021.
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17
                                                              CAM FERENBACH
18                                                            UNITED STATES MAGISTRATE JUDGE

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